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 Fill in this information to identify your case:

  Debtor 1                 Robert                                      Divilbiss
                                                                                                                     ✔ Check if this is an amended
                                                                                                                     ❑
                                                                                                                         plan, and list below the
                           First Name              Middle Name        Last Name                                          sections of the plan that
  Debtor 2                                                                                                               have been changed.
  (Spouse, if filing)      First Name              Middle Name        Last Name
                                                                                                                      3.1 , 5.1, 6.1
  United States Bankruptcy Court for the:                        Northern District of Illinois

  Case number                        23-16427
  (if known)


Official Form 113
Chapter 13 Plan                                                                                                                                 12/17

Part 1: Notices



To Debtors:         This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                    indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do
                    not comply with local rules and judicial rulings may not be confirmable.

                    In the following notice to creditors, you must check each box that applies.

To Creditors:       Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                    You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                    an attorney, you may wish to consult one.
                    If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                    confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                    Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
                    Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.
                    The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                    plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the
                    provision will be ineffective if set out later in the plan.


  1.1     A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial        ❑ Included            ✔ Not Included
                                                                                                                                       ❑
          payment or no payment at all to the secured creditor

  1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out            ❑ Included            ✔ Not Included
                                                                                                                                       ❑
          in Section 3.4

  1.3     Nonstandard provisions, set out in Part 8                                                              ❑ Included            ✔ Not Included
                                                                                                                                       ❑

Part 2: Plan Payments and Length of Plan


2.1 Debtor(s) will make regular payments to the trustee as follows:

         $1,650.33          per month          for     60   months.

    If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments
    to creditors specified in this plan.
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2.2 Regular payments to the trustee will be made from future income in the following manner:
   Check all that apply.
   ❑ Debtor(s) will make payments pursuant to a payroll deduction order.
   ✔ Debtor(s) will make payments directly to the trustee.
   ❑
   ❑ Other (specify method of payment):                                              .

2.3 Income tax refunds.
   Check one.
   ❑ Debtor(s) will retain any income tax refunds received during the plan term.
   ❑ Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will
        turn over to the trustee all income tax refunds received during the plan term.
   ✔ Debtor(s) will treat income tax refunds as follows:
   ❑
       On or before April 20th of the year following the filing of the case and each year thereafter, the Debtor(s) shall submit a copy of the prior
       year's filed federal tax return to the Chapter 13 Trustee. The Debtor(s) shall tender the amount of any tax refund received while the case
       is pending in excess of $1,200.00 to the Trustee. The tax refunds shall be treated as additional payments into the plan and must be
       submitted within 7 (seven) days of receipt of each such refunds by the Debtor(s).

2.4 Additional payments.
   Check one.
   ✔ None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
   ❑
2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is         $99,019.80

Part 3: Treatment of Secured Claims


3.1 Maintenance of payments and cure of default, if any.
   Check one.
   ❑ None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
   ✔ The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required
   ❑
         by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or
         directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
         trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before
         the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment payment
         and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If relief from the
         automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments
         under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the
         plan. The final column includes only payments disbursed by the trustee rather than by the debtor(s).


         Name of Creditor / Collateral                              Current              Amount of      Interest rate   Monthly         Estimated
                                                                    Installment          arrearage      on              plan            total
                                                                    Payment              (if any)       arrearage       payment on      payments
                                                                    (including                          (if             arrearage       by trustee
                                                                    escrow)                             applicable)

         Exeter Finance LLC                                          $101.44               $6,086.00        0.00%           Pro-Rata     $12,172.00
         Collateral                                                 Disbursed by:
         2012 Volkswagen Passat                                     ✔ Trustee
                                                                    ❑
                                                                    ❑ Debtor(s)
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         Name of Creditor / Collateral                               Current             Amount of       Interest rate   Monthly         Estimated
                                                                     Installment         arrearage       on              plan            total
                                                                     Payment             (if any)        arrearage       payment on      payments
                                                                     (including                          (if             arrearage       by trustee
                                                                     escrow)                             applicable)

          Santander Consumer USA, Inc                                 $292.04             $17,522.00         0.00%           Pro-Rata     $35,044.00
         Collateral                                                  Disbursed by:
         2017 Mitsubishi Outlander                                   ✔ Trustee
                                                                     ❑
                                                                     ❑ Debtor(s)
          Will County CCAO                                            $311.67             $18,700.00         0.00%           Pro-Rata     $37,400.00
         Collateral                                                  Disbursed by:
         2600 John Bourg, Plainfield, IL 60586                       ✔ Trustee
                                                                     ❑
         2600 John Bourg Plainfield, IL 60586
                                                                     ❑ Debtor(s)
         Insert additional claims as needed.


3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

   ✔ None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
   ❑
3.3 Secured claims excluded from 11 U.S.C. § 506.
   Check one.

   ✔ None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
   ❑
3.4 Lien Avoidance
   Check one.

   ✔ None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
   ❑
3.5 Surrender of collateral.
   Check one.

   ✔ None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
   ❑
Part 4: Treatment of Fees and Priority Claims


4.1 General

   Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
   without postpetition interest.

4.2 Trustee’s fees

   Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan payments;
   and during the plan term, they are estimated to total $9,901.98 .

4.3 Attorney’s fees

   The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,500.00 .

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
   Check one.

   ✔ None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
   ❑
4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
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   Check one.

   ✔ None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
   ❑
Part 5: Treatment of Nonpriority Unsecured Claims


5.1 Nonpriority unsecured claims not separately classified.

   Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
   providing the largest payment will be effective. Check all that apply.

   ❑ The sum of                  .

   ✔
   ❑    100.00%     of the total amount of these claims, an estimated payment of      $1.82       .

   ✔ The funds remaining after disbursements have been made to all other creditors provided for in this plan.
   ❑
        If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $30,861.00
        . Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

   ✔ None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
   ❑
5.3 Other separately classified nonpriority unsecured claims. Check one.

   ✔ None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.
   ❑
Part 6: Executory Contracts and Unexpired Leases


6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
and unexpired leases are rejected. Check one.

   ✔ None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
   ❑
Part 7: Vesting of Property of the Estate


7.1 Property of the estate will vest in the debtor(s) upon
   Check the applicable box:

   ❑ plan confirmation.
   ✔ entry of discharge.
   ❑
   ❑ other:                                                              .

Part 8: Nonstandard Plan Provisions


8.1 Check “None” or List Nonstandard Plan Provisions

   ✔ None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
   ❑
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Part 9: Signature(s):


9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the
Debtor(s), if any, must sign below.



     ✘ /s/ Robert Divilbiss                                              ✘
         Robert Divilbiss                                                    Signature of Debtor 2
         Signature of Debtor 1
         Executed on                                                         Executed on
                       MM/ DD/ YYYY                                                        MM/ DD/ YYYY




     ✘                   /s/ Vaughn White                                      Date
         Signature of Attorney for Debtor(s)                                          MM / DD / YYYY



By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.
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Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set out
below and the actual plan terms, the plan terms control.

      a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                            $84,616.00

      b.   Modified secured claims (Part 3, Section 3.2 total)                                                                          $0.00

      c.   Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                     $0.00

      d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                           $0.00

      e.   Fees and priority claims (Part 4 total)                                                                                $14,401.98

      f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                              $30,861.00

      g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                $0.00

      h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                                           $0.00

      i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                     $0.00

      j.   Nonstandard payments (Part 8, total)                                                                           +             $0.00

           Total of lines a through j                                                                                            $129,878.98
